             Case 1:21-cv-10175-WGY Document 6 Filed 04/30/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                                      )
Rothschild Broadcast Distribution Systems, LLC        )
                                                      )
                       Plaintiff,                     ) Civil Action No. 1:21-cv-10175-WGY
                                                      )
vs.                                                   )
                                                      )
Logmein, Inc.                                         )
                                                      )
                       Defendant.                     )
                                                      )
__________________________________________

                NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE



       Under Federal Rule of Civil Procedure 41(a), Rothschild Broadcast Distribution

Systems, LLC, through its counsel, notices this Court of voluntary dismissal without

prejudice of all claims. This notice is being filed before the opposing party serves either

an answer or a motion for summary judgment and therefore does not require an order of

the court.
          Case 1:21-cv-10175-WGY Document 6 Filed 04/30/21 Page 2 of 2




                                         Respectfully submitted,

                                         Rothschild Broadcast Distribution Systems, LLC,

                                         By its Attorney,


                                         /s/David A Chavous
                                         David A. Chavous, BBO# 660332
                                         CHAVOUS INTELLECTUAL PROPERTY LAW LLC
                                         793 Turnpike Street, Unit 1
                                         North Andover, MA 01845
                                         Telephone: (978) 655-4309
                                         Facsimile: (978) 945-0549
                                         dchavous@chavousiplaw.com
                                         Attorney for Rothschild Broadcast Distribution Systems,
                                         LLC
   April 30, 2021



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of April this document was filed through the ECF
system and sent electronically to the registered participants as identified on the Notice of
Electronic Filing. Paper copies will be served via first-class mail to any of those indicated as
non-registered participants.

                                                     /s/ David A Chavous
